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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA
MACON DIVISION

FLINT RIVERKEEPER, INC., et al.,
Plaintiffs,
CIVIL ACTI()N NO.: is " c v "' 43 5’ cA¥~

V.

SOUTHERN MILLS, INC. d/b/a/
TENCATE PROTECTIVE FABRICS,

Defendant.

 

DECLARATION OF SHELBY COX M()ORE

l. I, Shelby Cox l\/loore, declare as follows:

2. l am a resident of Upson County, Georgia.
3. I am an active member in good standing of Flint Riverkeeper, lnc.
4. l was born and raised in Upson County, Georgia. My father worked in a textile

mill. My family has lived in the area Since before 1850, and l still attend the church that my family
has attended since the 18503.

5. My brother J ere l\/lichael Cox, my son Granville Cliff Moore, and l own contiguous
parcels of real property (together approximately 70 acres) and a house, which are located at 7259
Crest Highway, l\/lolena, Upson County, Georgia 30258 (Parcel Nos. 005073 & 005073B), which
l acquired in 2005 when my mother passed away (“Cox Property”).

6. My parents bought the Cox Property from a relative in 1945 and my grandfather,
father, and uncles built my childhood home on the Property that remains there today. l grew up

on the Cox Property.

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7. l also own and reside at contiguous parcels of real property (together approximately
3.41 acres) and a house, which are located at 7277 Crest Highway, Molena, Upson County,
Georgia 30258 (Parcel Nos. 005073A & 005074) and which are contiguous to Parcel Nos.
0050073 & 0050'73}3. l designed the house on my Property.

8. My late husband, three children, and l moved to this Property in approximately
1970 to be closer to my mother and to enjoy the Cox Property that I grew up on and that means so
much to me. l have resided on this Property since approximately 1970.

9. Portions of Elkins Creek, a tributary of the Flint River, flow through my Property.

lO. Portions of Cox Creek, a tributary of the Flint River, flow through portions of the
my Property near its southern border.

ll. Cox Creek drains into portions of Elkins Creek on or near the southwestern corner
of my Property.

12. The confluence of Elkins Creek with the Flint River is approximately l.4 miles
from this Southwestern corner of my Property.

l3. I have many fond memories of spending time on the Cox Property as a child. As a
child, I would help my mother garden and explore our Property for different and rare species of
plants and flowers

14. As children, my siblings and I often spent time enjoying the wildlife near the
streams on our Property that flowed into a beaver pond. The beaver pond existed as far back as l
can remember. l often saw beavers, ducks, ospreys, and other wildlife in the wetlands on my
Property.

15. At that time, l remember that the streams on our Property were so pristine that my

mother would wash our clothes in them when we were young.

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16. My family created a walking trail on our property so we could enjoy the nature and
wildlife on our Property. The walking trail runs behind my house and to the streams on our
Property.

17. My late husband and l enjoyed walking on the trail together a few times a month
and observing the plants and wildlife on my Property at different times of the year.

18. My mother would join my husband and me on walks around my Property before
she passed away. l have very fond memories of taking these walks around the Property with my
mother and helping her find different and rare species of plants and flowers on the Property.

19. In 2007, TenCate Protective Fabrics (“TenCate”) purchased Parcel No. 005076 an
approximately l 1539-acre parcel of real property that is continuous to my Property.

20. The northern border of the TenCate Property is contiguous to the southern border
of my Property.

21. In 2008, TenCate expanded its Land Application System (“LAS”) at Plant Ray
through construction of spray fields on Parcel No. 005076 (“West Zone”). The West Zone Spray
Field is up-gradient of and adjacent to Cox Creek and my Property.

22. My Property is the only buffer between the West Zone Spray Field and downstream
tributaries of the Flint River including Spring Creek and Elkins Creek.

23. During expansion of the LAS, TenCate graded and disturbed Parcel No. 005076
which caused significant amounts of runoff and silt to trespass upon my Property.

24. TenCate’s operation of the West Zone Spray Field has adversely affected my
Property.

25. Before operation of the West Zone Spray Field, Cox Creek, Elkins Creek, and

wetlands on my Property used to run clear.

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26. Before operation of the West Zone Spray Field, the wetlands on my Property had
high-quality wetlands and gum and oak tlats.

27. Before operation of the West Zone Spray Field, there was a beaver pond that served
as important habitat for waterfowl Which I used to enjoy watching on my Property.

28. On numerous occasions, l have observed direct overland runoff of water from the
West Zone Spray Field onto my Property and into Cox Creek during both wet and dry conditions

29. Based on water quality sampling of my Property, this runoff onto my Property and
into Cox Creek is still polluted with industrial wastewater from the LAS and Plant Ray.

30. My dog will drink from a puddle in my backyard but he will not drink from Cox
Creek that flows adjacent to the West Zone Spray Field.

31. Since operation of the West Zone Spray Field, l have observed greenish-white,
thick, foamy films form in the streams and the wetlands on my Property on numerous occasions
These are the same streams that were once so pristine my mother washed our clothes in them.

32. Since TenCate began operating the West Zone Spray Field, l have observed a
decline in the beaver pond and presence of waterfowl on my Property, which is deeply upsetting
to me.

33. Since TenCate began operating the West Zone Spray Field, l have observed a
decline in the gum and oak flats on my Property, which is deeply upsetting to me.

34. Since TenCate began operating the West Zone Spray Field, I have observed a
decline in the presence of wild turkeys and deer on my Property.

35. In addition, l have smelled a noxious chemical odor on my Property which comes
from the LAS. This noxious chemical odor is so strong at times that l am unable to use and enjoy

my Property.

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36. This noxious chemical odor is often so strong I am unable to leave my house or sit
on my front porch or go into my backyard without feeling physically ill. This noxious chemical
odor is sometimes so strong that it makes me physically ill while l am inside my house.

37. This noxious chemical odor has been so strong that it has caused me to wake up in
the middle of the night feeling nauseous with my eyes and nose burning and forced me to leave
my own bedroom to avoid becoming physically ill.

38. During Labor Day weekend this year, a friend visiting my Property smelled the
noxious chemical odor from the LAS and at that time submitted a complaint to EPD regarding it.

39. l have never given TenCate permission to discharge pollutants onto my Property
and into Cox Branch on my Property.

40. Over the years, l have submitted several complaints to Upson County and EPD
regarding discharges of pollutants and emissions of noxious chemical odors onto my Property from
the LAS.

4l. l have also submitted comments and spoke at public hearings in opposition to
reissuance of the LAS Permit.

42. At a public hearing, an employee of 'l`enCate approached me and my brother
privately and told us that he trespassed upon our Property on several occasions and destroyed a
beaver dam on my Property. This was devastating to me.

43. The discharges of pollutants onto my Property and into Cox Branch and the
emission of noxious chemical odors onto my Property from the LAS interfere with my use and
enjoyment of portions of my Property.

44. The discharges of pollutants and emissions of noxious chemical odors onto my

Property from the LAS have prevented me from using the walking trail on my Property.

 

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45 . The discharges of pollutants onto my Property and into Cox Branch and the
emission of noxious chemical odors onto my Property nom the LAS have diminished the fair
market value of my Property.

46. My brother, Gary Cox, prior to granting his interest in the Cox Property to my son,
forced us to attempt a sale of the Property after expansion of the LAS in 2008.

47. The Cox Property was actively marketed for approximately one year; our realtor

told me that there were several people interested in purchasing the Property but they did not do so

after they learned about the LAS.

48. l am very concerned about the long-term adverse environmental impacts to my
Property and the surrounding environment from operation of the LAS. At one time, my Property

could have been considered a wildlife retirge.

49. lf TenCate ceased its discharges of pollutants onto my Property and into Cox Creek,
or obtained a direct discharge permit under the Clean Water Act, it would improve the

environmental condition, value, and my use and enjoyment of my Property.
50. Pursuant to 28 U.S.C. § 1746, l declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief

~)4,
rhi§__¢?___ day of september, 2016.

.Q&e_,
Shelby Cox M e

